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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION


 UNITED STATES OF AMERICA

          v.                                                CASE NO.: 5:21-CR-9-20

 BRETT DONAVAN BUSSEY

                 Defendant.


                                    JOINT STATUS REPORT

I.       Date of Status Report Conference: August 26, 2024
II.      Conference Attendees:

                             Name                                   Role
          Greg Gilluly                             Assistant United States Attorney
          Thomas A. Withers                        Defendant’s Attorney

III.     Pretrial Motions.

☐        All pretrial motions have been satisfied or otherwise resolved.

☒        The parties have not resolved the following pretrial motions(s) and will require a ruling
         from the Court to settle the actual controversy or dispute:

                                                                                      Evidentiary
                                                                Oral Argument
       Motion Title and Docket Number             Opposed                              Hearing
                                                                  Requested
                                                                                      Requested
                                                                 Each of these
 Motion to Dismiss Mail Fraud Counts,                           motions through
                                                      Y                                   n/a
 Doc. 631                                                       doc # 640 below
                                                               have had hearings.
 Motion for Bill of Particulars, Doc. 633             Y                n/a                n/a
 Motion to Suppress Microsoft Search
                                                      Y                n/a                n/a
 Warrant, Docs. 637, 695
 Motion to Sever, Doc. 639                            Y                n/a                n/a
 Motion to Suppress Wiretap Search
                                                      Y                n/a                n/a
 Warrant, Doc. 651
 Motion to Suppress Residence Search
                                                      Y                n/a                n/a
 Warrant, Docs. 694, 695
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 Motion for Return of Seized Property -
                                                      Y                 n/a                    n/a
 Suntrust Account, Doc 640
 Bussey’s Brady Motion Doc 1128                                         No                     No

                 Complete Remaining Portions Only In Judge Baker Cases

IV.    Are the parties prepared to proceed to trial? If so, list three potential dates for a
       telephonic status conference with the presiding District Judge. No

                                Dates for Telephonic Conference
                                        _______________
                                        _______________
                                        _______________

V.     Do the parties believe the case will result in a negotiated plea agreement and, if so, do the
       parties request additional time (not to exceed 30 days) for further plea negotiations and
       how much time do the parties request? Unknown at this time.

                                   Additional Time Requested
                                            30 days.



       This day August 26, 2024.

                                                       /s/ Greg Gilluly
                                                       Greg Gilluly
                                                       Assistant United States Attorney

                                                       /s/ Thomas A. Withers
                                                       Thomas A. Withers
                                                       Defense Counsel




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